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Billie Rene’ Frances Lillian Powers

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SANTA ANA DIVISION

BILLIE RENE”* FRANCES LILLIAN Case No.: SACV17-01386-DOC-KES
POWERS,
Assigned to District Judge:
Hon. David O. Carter

Plaintiff,
Courtroom 9D

Assigned Discovery Magistrate Judge:
Hon. Karen E. Scott

VS.

COUNTRY WIDE HOME LOANS, INC.;
COUNTRY WIDE BANK, FSB;
COMMONWEALTH LAND TITLE
INSURANCE COMPANY; MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, )
INC. “MERS”; BANK OF AMERICA, N.A.; )
RECONTRUST COMPANY, N.A.; BAC )
HOME LOANS SERVICING, LP; QUALITY )
LOAN SERVICING CORPORATION ; )
SELECT PORTFOLIO SERVICING, INC.; _ )
THE BANK OF NEW YOUR MELLON )
F/K/A THE BANK OF NEW YORK, AS )
TRUSTEE, ON BEHALF OF THE )
HOLDERS OF THE ALTERNATIVE LOAN )
)
)
)
)

PLAINTIFF’S OPPOSITION TO THE
DEFENDANTS’ MOTION TO DISMISS

Hearing on Motion

Date: November 20, 2017
Time: 8:30 am

Dept: 9D

TRUST 2007-HY9, MORTGAGE PASS-
THROUGH CERTIFICATES SERIES 2007-
HY9; THE BANK OF NEW YOUR
MELLON F/K/A THE BANK OF NEW

Date Filed: August 11, 2017

YORK, AS TRUSTEE , FOR THE )
CERTIFICATE HOLDERS, ALTERNATIVE )
LOAN TRUST 2007-HY9 MORTGAGE )
PASS THROUGH CERTIFICATES, SERIES )
2007-HY9; JON SECRIST; AND DOES 1 TO)
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Defendant(s).

 

OPPOSITION TO MOTION TO DISMISS - 1

 

 

 
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Comes Now, the plaintiff Billie Rene’ Frances Lillian Powers (“Plaintiff”) and filed this
response to the Motion to Dismiss Plaintiff's First Amended Complaint (“FAC”) brought by the
two (2) defendants’ Select Portfolio Servicing, Inc. and the Bank of New York Mellon, f/k/a/
the Bank of New York, as Trustee, on behalf of the holders of the Alternative Loan Trust 2007-
HY9, Mortgage Pass-Through Certificates Series 2007-HY9 (cumulatively referred to
hereinafter as the “Defendants” and individually referred to as “Select” and “BONY as
Trustee”, respectively).

This opposition is based on the declarations contained herein and attachments hereto as
well as any and all documents contained in this court’s file, including but not limited to those
documents contained in the Defendants’ Request for Judicial Noti€e supporting its motion, as
well as any evidence and argument presented at the nef he instant motion.

Date: October 30, 2017 Respect l of
| ae

Richard W. Snyder Esq.
Attorney for Plaintiff

 

OPPOSITION TO MOTION TO DISMISS - 2

 
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MEMORANDUM OF POINTS AND AUTHOIRTIES

I. INTRODUCTION

On or about April 13, 2007, the Plaintiff executed a Residential Purchase Agreement and
Joint Escrow Instructions respecting her intended purchase of the real property located at 40701
Ortega Hwy, San Juan Capistrano (unincorporated), CA 92530 (“Property”). Plaintiff took
possession of the Property on or about July 2, 2007 and resided thereat at all times subsequent
thereto but prior to the filing of the First Amended Complaint (“FAC”) in this matter. From the
very moment of the opening of the purchase escrow through the filing of the FAC, Plaintiff has
been the victim of numerous fraud schemes respecting her title to the Property. Among the
documents contained in the purchase escrow file, there existed a grant deed, a promissory note
(the “Note”), and a deed of trust which purportedly secured the Note in favor of Countrywide
Bank, FSB (“Lender”'). As a result of the fraudulent conveyances, neither the Plaintiff nor the
Lender nor its purported successors received any interest in the Property. Thus, the entity
ultimately conducting the foreclosure sale lacked authority to do so rendering the sale void.

In addition, on or before May 4, 2010, the entity then servicing the Note accelerated the
balance due. The acceleration of the balance due commenced the six year statute of limitations
prescribed by Cal. Comm. Code § 3-118. On August 8, 2016, more than six years after the
acceleration of the debt a trustee’s sale was conducted. As a result of the expiration of the statute

of limitations, the entity conducting the foreclosure sale lacked authority to do so.

Fraud in the Grant Deed
In the process of the purchase, on or about April 17, 2007, a document titled “Additional
Escrow Instructions” was executed. The instructions indicated that title was to be vested in

Plaintiff solely (see Exhibit “1”). On April 26, 2007, the seller of the Property Roger Lee

 

* At some point in time between 2007 and 2010, Countrywide Home Loans, Inc. and its subsidiaries, among which
was Countrywide Bank, FSB, were purchased by Bank of America, N.A. Throughout this brief wherever the term
“Lender” is used it refers to Countrywide Bank, FSB prior to the purchase and Bank of America, N.A. after the
purchase.

OPPOSITION TO MOTION TO DISMISS - 3

 

 

 
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Delong (‘Seller’) executed a Grant Deed (the “True Grant Deed”) naming Plaintiff as the sole
grantee. Three weeks later, on May 15, 2007, and addendum to the Residential Purchase
Agreement was prepared reconfirming the fact that Plaintiff was the sole buyer (see Exhibit ‘2’’).
On May 29, 2007, the Plaintiff received 2 documents each titled “Escrow Modification”. Each
of said documents identified the Plaintiff as the sole buyer (see Exhibit “3”), again confirming
that Plaintiff was the sole buyer. Sometime between June 1, 2007 and June 15, 2007, the
Plaintiff was advised by Lender that she no longer qualified for the prospective loans and that
she need to have a co-signor. At this time, over 5 weeks after the True Trust Deed was
executed and notarized, the Plaintiffs sister and brother-in-law Louis J. Hanson and Jacqueline
M. Hanson agreed to co-sign (see Exhibit “4”). This was their first appearance as a purchaser in
the purchase transaction.

At closing, on July 2, 2007, a materially altered version of the True Grant Deed (the
“Fraud Grant Deed”) dated April 26, 2007 was recorded” (see Exhibit “5”). The True Grant
Deed was altered to remove the Plaintiff's name and replace it with the names “Billie Rene
Powers”, “Louise J. Hanson”, and “Jacqueline M. Hanson”. The replaced names were not
written in the same font as the balance of the document, but instead appear to be from a
typewriter. Additionally, the name Louis J. Hanson was misspelled as Louise J. Hanson.

In short, the True Grant Deed was executed on April 26, 2007, at a time when only the
Plaintiff was to be on title as evidenced by the aforesaid escrow instructions. Approximately 5
weeks later, when the Plaintiff needed co-signors, Louis J. Hanson and Jacqueline M. Hanson
were added as buyers. Magically, at the close of escrow on July 2, 2007, the Fraud Grant Deed,
dated April 26, 2007 mysteriously contained the names of the additional buyers.

In further support of the fact that the True Grant Deed was modified to add the additional
buyers after it was notarized and delivered to the escrow, the notary Nancy F. Ganzon, who prior

to August 2014 was a stranger’ to Plaintiff, executed an affidavit (see Exhibit “7”) wherein she

 

* All references to a document being “recorded” refer to being recorded in the office of the
County Recorder for the County of Orange, State of California unless clearly expressed or implied

otherwise.

3 tn support of her testimony that she did not know the Notary Nancy F. Ganzon, Exhibit “6” is a
copy of a form for a complaint with the State of California, Secretary of State, Notary Public
Section, requesting information on the Notary.

OPPOSITION TO MOTION TO DISMISS - 4

 
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testified and will further testify if needed, that the Fraud Grant Deed, bearing her signature and
notary stamp, is not the document that she notarized, but instead is an altered version of the one
she notarized. The post notarization material alteration of the True Grant Deed rendered the

Fraud Grant Deed void.

The Deed of Trust Failed to Convey Any Interest in the Property

Pursuant to the illusory powers granted to her in the Fraud Grant Deed, on June 27, 2007,
Plaintiff executed a Deed of Trust (the “1°' DOT”, see Exhibit “8’) on her own behalf and on
behalf of Louis J. Hanson and Jacqueline M. Hanson via 2 powers of attorney. The Fraud Grant
Deed and the 1*‘ DOT were recorded sequentially on July 2, 2007 as document numbers
2007000417170 and 2007000417171. On the 1" DOT, the “Lender” is Counrtywide Bank, FSB
(“Lender”), the “Trustee” was ReconTrust Company, N.A. (“DOT Trustee’’), and Mortgage
Electronic Registration Systems, Inc, (““Mers”’) a Delaware company was identified as the
“Beneficiary” acting solely as the nominee for Lender. Because the Fraud Grant Deed was void,
Plaintiff received nothing by way of the Fraud Grant Deed. In turn, when Plaintiff executed the
1“ DOT and “conveyed” the Property to the DOT Trustee for the benefit of Mers as nominee for
Lender, Plaintiff had no interest in the Property to convey and the DOT Trustee, Mers, and

Lender received nothing.

Fraud in the Assignment of the 1° DOT

On or about October 26, 2010, a document titled “Corporate Assignment of Deed of
Trust” (“Assignment of DOT”, see Exhibit “9”) was recorded purporting to assign the 1‘ DOT to
The Bank of New York Mellon fka The Bank of New York, as Trustee, for the
Certificateholders CWALT Inc., Alternative Loan Trust 2007-HY9 Mortgage Pass-Through
Certificates, Series 2007-HY9 (“BONY as Trustee’’)(emphasis added). The Assignment of DOT
was purportedly signed by Nichole Clavadetscher in her capacity as a Certifying Officer of Mers.
The Assignment of DOT was purported to have been notarized by Jon Secrist (“Secrist”), whose

notary commission number is 1893949,

OPPOSITION TO MOTION TO DISMISS - 5

 
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On or about November 16, 2012, Plaintiff initiated a claim with Merchants Bonding
Company (“Bond Co”) who provided a notary bond for the notary, Secrist (see Exhibit “10”).
Through its claim Plaintiff alleged that the signature for Nichole Clavadetscher on the
Assignment of DOT was not genuine and therefore, Secrist’s representation on the notary
acknowledgement, made under penalty of perjury, that Nichole Clavadetscher personally
appeared before him, was false. In its November 29, 2012 reply letter asking for more
information to substantiate the Plaintiff's claim, Bond Co stated that it only paid actual damages
(see Ex. “10”, pg 1, | 3) and that policy limit was $15,000.00 (see Ex. “10”, pg 3). On or about
December 6, 2012, Plaintiff submitted a written “Proof of Claim” to Bond Co (see Exhibit “11”).
Thereafter, on or about February 27, 2013 (after nearly 3 month time to investigate its liability)
Bond Co paid Plaintiff the full policy limit of $15,000.00 in settlement of Plaintiff's claim (see
Exhibit “12”). The forged signature of Nichole Clavadetscher on the Assignment of DOT

rendered it void.

The Assignment of DOT was to BONY as Trustee, However Subsequent to the
Assignment, a Substitution of Trustee, a Notice of Default and a Trustee’s Deed Upon Sale
Were All Executed in a Different Name.

The Assignment of DOT purports to transfer the beneficial interest under the 1" DOT to
an entity named “The Bank of New York Mellon fka The Bank of New York, as Trustee, for the
Certificateholders CWALT Inc., Alternative Loan Trust 2007-HY9 Mortgage Pass-Through
Certificates, Series 2007-HY9” (emphasis added)(see Exhibit “9”).

On February 28, 2014, a Substitution of Trustee, purporting to substitute Quality Loan
Service Corporation (“Quality”) as a successor trustee to the DOT Trustee (see Exhibit “13”’)
was recorded. On the 4" page of the Notice of Default, the beneficiary is identified as “The
Bank of New York Mellon fka The Bank of New York, as Trustee, on behalf of the holders of
the Alternative Loan Trust 2007-HY9 Mortgage Pass-Through Certificates, Series 2007-HY9”.
(“BONY for Wrong Trust”’)(emphasis added). The beneficiary name on the Notice of Default is

materially different from that contained in the 1 DOT and the Assignment of DOT, in that the

OPPOSITION TO MOTION TO DISMISS - 6

 
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words “for the Certificateholders of the Cwalt, Inc.” (in the 1 DOT and in the Assignment of
DOT) was replaced with the words “on behalf of the holders” (in the Substitution of Trustee).
The name of the beneficiary making the substitution of trustee was clearly not BONY for Trustee
as identified on the 1 DOT and the Assignment of DOT.

On September 25, 2014, a Notice of Default, claiming to be a notice of default on the 1*
DOT (see Exhibit “14”, pg 2, circled item 1) was recorded. On the 4" page of the Notice of
Default, the beneficiary was identified as BONY for Wrong Trust, the exact same way it was
identified in the Substitution of Trustee. The name of the beneficiary on behalf of which Quality
was recording the Notice of Default was clearly not BONY as Trustee, but rather was BONY for
Wrong Trust.

On August 8, 2016, a Trustee’s Sale was conducted by Quality and on August 8, 2016,
Quality recorded a Trustee’s Deed Upon Sale (see Exhibit “15”). On the Trustee’s Deed Upon
Sale, the grantee was identified as BONY for Wrong Trust, the exact same way it was identified
in the Substitution of Trustee and the Notice of Default. The name of the beneficiary/grantee on
behalf of which Quality conducted the trustee’s sale and on whose behalf Quality recorded the
Trustee’s Deed Upon Sale and who was the putative credit purchaser, was clearly not the
beneficiary identified on the 1 DOT and the Assignment of DOT. Furthermore, on the
Trustee’s Deed Upon Sale, it states that the grantee on the Trustee’s Deed Upon Sale was the

foreclosing beneficiary, when clearly it was not.

The Note was never endorsed from Lender to Bony as Trustee.

In order to foreclose on the Note through the power of sale clause ion the 1 DOT, the
foreclosing party must be the holder of the Note. Without the Note, BONY for Wrong Trust can
not be the holder entitled to foreclose. In fact, the Note was never endorsed by Lender, its
successor BOA or its servicer BAC, to BONY as Trustee or to BONY for Wrong Trust. As the
court can see, BONY for Wrong Trust’s Request for Judicial notice includes approximately 500

pages of support documents. BONY for Wrong Trust failed to included a copy of the Note

OPPOSITION TO MOTION TO DISMISS - 7

 

 
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because BONY for Wrong Trust simply does not have the Note and therefore is not the holder.

Since it is not the holder, it was without power to foreclose.

The Statute of Limitations Expired prior to the Foreclosure Sale Rendering the Note
Void.

At the time of closing of escrow on July, 2, 2007, there existed a promissory note (the
“Note”) which was purportedly secured by the 1‘ DOT. In or before May 6, 2008, Lender, or its
servicer BAC Home Loans Servicing, LP (“BAC”) declared the Plaintiff, Louis J. Hanson and
Jacqueline M. Hanson (cumulatively “Borrowers”) in default on the Note and exercised its right
to accelerate the debt allegedly due on the Note (see RJN, Ex. “D”). Thereafter, on November 5,
2008, Lender or its servicer BAC recorded a Notice of Trustees Sale (see RJN, Ex. “F”), thus
reaffirming that the alleged debt due on the Note was accelerated. The acceleration of the
alleged balance due on the Note commenced the six year statute of limitations prescribed by Cal.
Comm. Code § 3-118. Subsequent to January 1, 2010, the Plaintiff has made no payments on the
Note to anyone and has not acknowledged any obligation on the Note. On or about May 4, 2010,
BAC sent the Plaintiff a letter demanding what it determined to be the balance due on the Note
(see Exhibit “17”). On May 6, 2010, BAC recorded a Notice of Default wherein it reaffirmed its
position that the accelerated balance was due (see Exhibit “18”). On August 8, 2016, more than
six years after the acceleration of the debt, a trustee’s sale was conducted. As a result of the
expiration of the statute of limitations the Note became unenforceable. Thus, the entity

conducting the foreclosure sale lacked authority to do so.

II. EFFECT OF JUDICIAL ESTOPPLE FROM PRIOR BANKRUPTCY FILINGS
“In the bankruptcy context, the federal courts have developed a basic default rule: If a
plaintiff-debtor omits a pending (or soon to be filed) lawsuit from the bankruptcy schedules and
obtains a discharge (or plan confirmation), judicial estopple bars the action.” M. Ah Quin v.
County of Kauai Department of Transportation, 733 F. 3d 267, 271 (9" Cir. 2013)(emphasis

added). In its brief, the defendant identifies the following bankruptcy cases:

OPPOSITION TO MOTION TO DISMISS - 8

 
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February 17,2009 — Chapter 7

November 11,2009 Chapter 13

December 28, 2009 Chapter 13

February 10,2010 Chapter 11

July 14, 2010 Chapter 11

August 4, 2017 Chapter 13

The Plaintiff only received a discharge (or a confirmed plan) in the February 17, 2009
chapter 7 bankruptcy case. Thus, without obtaining a discharge or a confirmed plan, Judicial
estopple is not applicable to any of the dismissed bankruptcy cases.

1. February 17, 2009 Chapter 7 Bankruptcy Case

On February 17, 2009, the Plaintiff filed a Chapter 7 bankruptcy petition (see RIN, Ex.
“R”). The Plaintiff received a discharge in the February 17, 2009 Chapter 7 bankruptcy filing.
The Plaintiff's obligation to list the causes of action therein are analyzes as follows:

A. Cancellation of Fraud Grant Deed and Wrongful Foreclosure Stemming
Therefrom. At that time Plaintiff filed the February 17, 2009 Chapter 7 Bankruptcy Case, she
did not suspect the grant deed she received through the escrow was materially altered and
therefore void. It follows necessarily that any cause of action for cancellation of the Fraud Grant
Deed would not be identified in the bankruptcy schedules. The Purpose of Judicial Estopple “is
to protect the integrity of the judicial process by prohibiting parties from deliberately changing
positions according to exigencies of the moment.” M. Ah Quin, supra at 270. Intent to conceal is

absent in this case. In M. Ah Quin, supra at 276-277, the court stated:

“Courts must determine whether the omission occurred by accident or was
made without intent to conceal. The relevant inquiry is not limited to the
plaintiff's knowledge of the pending claim and the universal motive to conceal a
potential asset—though those are certainly factors. The relevant inquiry is, more
broadly, the plaintiff's subjective intent when filling out and signing the
bankruptcy schedules.”

Here, the Plaintiff had no idea of the fraud in the Fraud Grant Deed. Having no
knowledge of the fraud, the Plaintiff had no obligation to list the cause of action in her Schedule

B. The Plaintiff did in fact make those disclosures she was then aware of when she listed her

OPPOSITION TO MOTION TO DISMISS - 9

 

 

 
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interest in the Property in her bankruptcy Schedule A (see RJN, Ex. “R”). Plaintiff's ownership
in the Property was duly listed and any infirmities in the chain of title were discoverable by the
Chapter 7 Trustee who elected not to investigate the hidden infirmities, but rather to conclude its
investigation into Plaintiff's title when it filed its Chapter 7 Trustee’s Report of No Distribution
(see RJN, Ex. Q, Doc #15). The Plaintiff's lack of knowledge of the fraud perpetrated on her by
a third party renders judicial estopple inapplicable as a matter of law.

The standard movant would have this court apply is that if one files bankruptcy and has
real estate, one must either have an attorney and a document examiner examine one escrow file
to make sure all the documents are genuine and effective or waive the undiscovered fraud.

Filing bankruptcy is simply not a waver of undiscovered causes of action.

B. Cancellation of the Assignment of DOT and Wrongful Foreclosure Stemming
Therefrom. BONY for Wrong Trust’s alleged authority to foreclose stems from the Assignment
of DOT which was recorded October 26, 2010, some 1 year and 8 months after the February 17,
2009 bankruptcy filing. The cause of action for wrongful foreclosure did not arise until the
foreclosure sale on August 8, 2016, long after the February 17, 2009 bankruptcy filing. This
cause of action occurred post-petition and therefore it was not possible to list the cause of action
in the bankruptcy.

C. Wrongful Foreclosure When BONY as Trustee was not the Holder of the
Note. The cause of action for wrongful foreclosure, based on the fact that BONY for Wrong
Trust was not the holder of the Note, did not occur until the August 8, 2016 foreclosure sale,
long after the February 17, 2009 bankruptcy filing. This cause of action occurred post-petition
and therefore it was not possible to list the cause of action in the bankruptcy.

D. Wrongful Foreclosure When BONY as Trustee Performed Non-Judicial
foreclosure after the Expiration of the Statute of Limitations. The statute of limitations did
not expire until at least 6 years after the May 6, 2008 acceleration which was in excess of 5 years
after the February 17, 2009 bankruptcy filing. This cause of action occurred post-petition and
therefore it was not possible to list the cause of action in the bankruptcy.

2. November 11, 2009 Chapter 13 Bankruptcy Case

OPPOSITION TO MOTION TO DISMISS - 10

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It is a determinative fact that Plaintiff did not receive a discharge in the November 11,
2009 Chapter 13 case and thus judicial estopple can not apply. Aside from that, the Plaintiff's
lack of any obligation to list the causes of action in the November 11, 2009 Chapter 13
bankruptcy are identical to those for the February 17, 2009 Chapter 7 bankruptcy. In addition
thereto, the November 11, 2009 Chapter 13 bankruptcy petition (see RJN, Ex. “U”’) was filed
incomplete. This type of filing is allowed so long as the required documents would be filed
before November 27, 2009 (see RJN, Ex. “T”). The Plaintiff failed to timely file her Schedule A
or her Schedule B as well as numerous other required documents. Thus, she made no
inconsistent representations because she made no representations at all. Based on her failure to
timely file her documents, the bankruptcy court dismissed her bankruptcy case.

3. December 28, 2009 Chapter 13 Bankruptcy Case

It is a determinative fact that Plaintiff did not receive a discharge in the December 28,
2009 Chapter 13 case and thus judicial estopple can not apply. The Plaintiff's lack of any
obligation to list the causes of action in the December 28, 2009 Chapter 13 bankruptcy are
identical to those for the February 17, 2009 Chapter 7 bankruptcy. In addition thereto, the
December 28, 2009 Chapter 13 bankruptcy petition (see RJN, Ex. “W’’) was filed incomplete.
This type of filing is allowed so long as the required documents would be filed before January
11, 2010 (see RJN, Ex. “V”). The Plaintiff failed to timely file her Schedule A or her Schedule
B as well as numerous other required documents. Thus, she made no inconsistent
representations because she made no representations at all. Based on her failure to timely file
her documents, the bankruptcy court dismissed her bankruptcy case.

4. February 10, 2010 Chapter 11 Bankruptcy Case

It is a determinative fact that Plaintiff did not receive a discharge in the February 10,
2010 Chapter 13 case and thus judicial estopple can not apply. The Plaintiffs lack of any
obligation to list the causes of action in the February 10, 2010 Chapter 11 bankruptcy are
identical to those for the February 17, 2009 Chapter 7 bankruptcy.

5. July 14, 2010 Chapter 11 Bankruptcy Case

OPPOSITION TO MOTION TO DISMISS - 11

 

 

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It is a determinative fact that Plaintiff did not receive a discharge in the July 14, 2010
Chapter 13 case and thus judicial estopple can not apply. The Plaintiff's lack of any obligation
to list the causes of action in the July 14, 2010 Chapter 11 bankruptcy are identical to those for
the February 17, 2009 Chapter 7 bankruptcy.

6. August 4, 2017 Chapter 13 bankruptcy

It is a determinative fact that Plaintiff did not receive a discharge in the August 4, 2017
Chapter 13 case and thus judicial estopple can not apply. Amazingly the movant’s states that
“she did not disclose the existence of any of the claims asserted in the instant action or the fact
that she had even filed the instant action” (see Motion to Dismiss, Pg 6 lines 19-20) without
disclosing to the court that the filing was incomplete and that the Schedule B, wherein causes of
action must be disclosed was not due until August 18, 2017 (see RJN, Ex. “JJ”, Docket #1). As
the court will notice from a review of the docket, docket entry #5 set a hearing on August 7,
2017, just 3 days after the filing and 11 days before the date the disclosures were due. At that
hearing the Plaintiff's bankruptcy case was dismissed. There were simply no representations
past due and no representations made to the court at the time the case was dismissed. Movant’s
attempt to mislead the court into thinking that the Plaintiff somehow failed to make the required
disclosure justifying judicial estopple is egregious. That being said, the movant’s complaint that
she had failed to disclose “that she had even filed the instant action” is audacious. The
bankruptcy was filed on August 4, 2017 and dismissed on August 7, 2017, thereafter this lawsuit
was filed on August 11, 2017. How could the Plaintiff fail to disclose filing a lawsuit that had

not yet been filed?

Hl. EFFECT OF JUDICIAL ESTOPPLE FROM THIRD PARTY LITIGATION
Billie Rene Powers v. Val-Chris Investments, Inc.
In its brief, the movant takes issue with the case of Billie Rene Powers v. Val-Chris
Investments. In or about November 2007, the Plaintiff borrowed $400,000.00 (“Junior Lien”)
from a hard money lender named Val-Chris Investments Inc. (“Wal-Chris”) and pledged the

Property via a second deed of trust. Unknown to the Plaintiff, Val-Chris conducted a foreclosure

OPPOSITION TO MOTION TO DISMISS - 12

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sale of the Property in September 2009, which it voluntarily set aside citing irregularities in the
foreclosure process (see RJN, Ex. “GG”, Ex. “R” thereto), and a second foreclosure sale on or
about October 15, 2009 to a Thomas Peppers (“Peppers”). Plaintiff claimed the second sale was
likewise unlawful. The first sale was conducted prior to all of the Plaintiff's 2009 and 2010
bankruptcies and the second sale was prior to some of them. Because the Plaintiff knew about
the potential wrongful foreclosure cause of action prior to the said bankruptcies and failed to
disclose them in her Schedule B in each case, when she filed her wrongful foreclosure complaint
in 2012, the court dismissed it based on judicial estopple. The wrongful foreclosure of the junior
lien in 2012, by a third party is a wholly distinct set of facts which have no relationship to the
facts constituting the wrongful foreclosure by BONY for Wrong Trust in this instant matter.

Thomas F. Peppers v. Billie Rene Powers

In its brief, the movant takes issue with the case of Thomas F. Peppers, Trustee of the
Thomas F. Peppers Trust, UDT and or Its Successors, and/or Assignees in Interest v. Billie Rene
Powers. This unlawful detainer litigation arose out of the Val-Chris second foreclosure sale of
the Property to Peppers. Peppers ultimately prevailed after which a settlement was reached and

the Plaintiff retained title to the Property. This case is irrelevant.

IV. FAILURE TO JOIN INDISPENSABLE PARTIES

In its brief, movant claims the following parties are indispensable: Peppers, Louise J.
Hanson, Jacqueline M. Hanson, and Rancho Sonata, LLC.

l. Peppers — The movant names Peppers as an indispensable party but fails to state
why other than that he “purchased the Property in 2009 at a foreclosure sale under a junior lien.”
In fact, the Plaintiff settled with Val-Chris and on June 20, 2013, a document was recorded titled
“Mutual Agreement for the Recission of Trustee’s Deed and Reconveyance of Deed of Trust.
The document was recorded ad Document number 2013000372246. The document rescinds the
October 15, 2009 foreclosure sale and reconveys the second deed of trust. Peppers is simply not

a indispensable party.

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2. Louise J. Hanson — Again, the Fraud Grant Deed when the forger attempted to
type in the name Louis J. Hanson, he misspelled the name as Louise J. Hanson. Compare the
Fraud Grant Deed (Ex “5”, Louise) with the DOT (Ex “8”, Louis). The bottom line is that Louis
J. Hanson was married to the Plaintiff's sister Jacqueline M. Hanson. The Plaintiff has testified
that Louis J. Hanson is deceased and has been since May 6, 2014.

3. Jacqueline M. Hanson — Jacqueline M. Hanson was an alleged co-obligor on the
Note and was identified on the Fraud Grant Deed and the DOT. She was subsequently removed
from title via a grant deed recorded July 10, 2007.

4, Rancho Sonata, LLC — Rancho Sonata, LLC was a limited liability company
which was created for the sole purpose of holding title to the Plaintiff's real estate. The Plaintiff
conveyed title to the Property to Rancho Sonata, LLC on July 10, 2007 and on November 26,
2014 Rancho Sonata, LLC conveyed to back to the Plaintiff. Rancho Sonata, LLC is not an
indispensable party.

5 Conclusion — None of the 4 parties listed are indispensable and the movant does
not give any reasons other than to list them. Ifthe court decides that one or more are, the

Plaintiff will add them accordingly.

Vz. FAILURE TO STATE A CLAIM

In Section 5 of the movant’s motion, after quoting Federal Rules of Civil Procedure, Rule 12(b),
the movant commits just 14 lines of boilerplate, which in sum states that one must plead
sufficiently. The 1 paragraph does not analyze any of the causes of action whatsoever and
should be disregarded. The Plaintiff acknowledges that the FAC was drafted by a paralegal
rather than an attorney and requests that if any such deficiencies exist, that the Plaintiff be

granted leave to amend the FAC to address any issues.
VI. STANDING

In its motion, the movant tries to make the case that all of the Plaintiff's causes of action

are all part of the February 17, 2009 chapter 7 bankruptcy case and that they may only be

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brought by the chapter 7 trustee therein. A cause of action belongs to the debtor at the time of
the bankruptcy filing and thus is transferred into the bankruptcy estate if the cause of action had
"accrued" at the time of filing. (see State Farm Life Ins. Co. v. Swift (In re Swift)., 129 F.3d 792,
795 (Sth Cir. 1997); see also Cusano v. Klein., 264 F.3d 936, 947 (9th Cir. 2001)). To

 

determine accrual for this purpose, the courts look to the applicable state law. (Cusano, at p.

947.) Under California law, "[a] cause of action accrues 'when [it] is complete with all of its

elements'—those elements being wrongdoing, harm, and causation." Pooshs v. Philip Morris
USA, Inc., 51 Cal.4th 788, 797 (2011). In this case, the wrongful foreclosure which is the

 

gravamen of the Plaintiff's complaint did not occur until August 8, 2016, long after the 2009 and
2010 bankruptcies and therefore did not accrue pre-petition. As to the August 4, 2017, while the
cause of action accrued pre-petition, it was dismissed 3 days after it was filed which was before
the disclosures were due on August 18, 2017. Simply stated, at the time the case was dismissed,
the Plaintiff's had not yet filed a Schedule B and therefore she made no representations at all and
at that time her Schedule B was not due. The Plaintiff in fact did not fail to disclosure of causes

of action.

VII. TRUSTEE’S SALE IS NOT PRESUMED VALID

There exists a presumption that a trustee’s sale has been conducted regularly and properly
as stated in movant’s Motion to Dismiss at page 11, paragraph 8. The presumption does not
apply to the validity of the sale, only the notice given. Civil Code § 2924 does not provide a
conclusive presumption of unassailable title. The Court in Melendrez v. D & I Investment, Inc.,
127 Cal.App.4th 1238 (2005) specifically stated at Foot Note 26:

"FN 26. Section 2924's conclusive presumption language for BFP's applies only to
challenges to statutory compliance with respect to default and sales notices. In reaching this
conclusion, we recognize that there is dictum that suggests that the conclusive presumption under
section 2924 applies across the board to any claimed irregularities in the trustee's sale. — In
Moeller the court held that the presumption under section 2924 provides that the trustee's "sale
has been conducted regularly and properly," and that, as against a BFP, the presumption operates
to prevent the trustor from "attacking the validity of the sale." (Moeller, supra, 25 Cal.App.4th
822, 831.) Cases following Moeller have similarly described the conclusive presumption--
applicable under section 2924 there the buyer is a BFP who has received a trustee's deed--as
precluding any attack on the trustee's sale. (See Residential Capital v. Cal-Western
Reconveyance Corp. (2003) 108 Cal.App.4 " 807, 817 (Residential Capital) [once trustee's deed

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is delivered, "there was a conclusive presumption of validity under section 2924"J; 6 Angels,
Inc. v. Stuart-Wright Mortgage, Inc. (2001) 85 Cal.App.4th 1279, 1286 [same]; Angell v.
Superior Court (1999) 73 Cal.App.4th 691,699-700 [same].) To the extent that Buyer may
construe these cases as describing section 2924's presumption as precluding any attack on the
foreclosure sale as to a BFP--irrespective of whether the challenge relates to the trustee's
compliance with procedural requirements concerning the default and sale notices--we decline to
follow such Interpretation. (See 4 Miller & Starr, Cal. Real Estate, supra, Deeds of Trust §
10:211, p. 680 [section 2924 "presumption only applies to the propriety of the required notices,
but it does not apply to other requirements of the foreclosure process".) " (emphasis added)

In Crummer v. Whitehead., 230 Cal, App. 2d 264, 268 (1964), the court held that in an
unlawful detainer action "brought pursuant to Code of Civil Procedure §1161 a(b )(3), the
Defendants (trustor or homeowner) was entitled to dispute the validity of the trustee's sale and to
place respondent's title in issue," citing Kartheiser v. Superior Court, 174 Cal.App.2d 617, 620
(1959). The Crummer court further held that "the burden of proof rested upon respondent to
show that the trust property had been "duly" sold to him and that her title was "duly perfected."

The trustee sale is not presumed valid.

VU. TENDER IS NOT REQUIRED

Movant next argues that the Plaintiff has failed to allege the ability to comply with the
tender rule. The tender rule is applicable in equitable actions to set aside a trustee’s sale’. To the
extent this Plaintiff's wrongful foreclosure case is founded on the fact that the Fraud Grant Deed
was void, this action is NOT an equitable action to set aside a foreclosure sale, rather it is an
action at law to declare the foreclosure sale void. Tender is not required when the trustor is not

required to rely on equity to attack the deed as void. (see Lona v. Citibank, N.A., 202

 

Cal.App.4th 89, 112-113 (2011). This is simply not an action in equity. The Fraud Grant Deed
is void, not voidable. It passed no rights whatsoever to the Plaintiff who in turn passed no rights
whatsoever to Lender via the DOT. Having received no rights via the DOT, Lender and the
Foreclosing Trustee had no right to conduct a foreclosure sale and could not issue anything other

than a void trustee’s deed upon sale.

 

* The elements of'a cause of action to set aside the trustee's sale: "(1) the trustee or mortgagee caused an illegal, fraudulent, or willfully

oppressive sale of real property pursuant to a power of sale in a mortgage or deed of trust; (2) the party attacking the sale (usually but not always
the trustor or mortgagor) was prejudiced or harmed; and (3) in cases where the trustor or mortgagor challenges the sale, the trustor or mortgagor
tendered the amount of the secured indebtedness or was excused from tendering. [Citations.]" (Lona v. Citibank, N.A. (2011) 202 Cal. App.4th 89,
104 (Lena).) .

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To the extent the court were to find the tender rule applicable, the Plaintiff is still not
required to tender because the first of four recognized exceptions to the tender rule: (see Lona,
Supra at 112-113) is "if the borrower's action attacks the validity of the underlying debt, a tender
is not required since it would constitute an affirmation of the debt.” Here, the Plaintiff asserts
that the 6 year statute of limitations as set forth in California Commercial Code § 3118 has

expired and therefore the debt is not valid.

IX. PARAGRAPHS 11 THROUGH 20 ADDRESS POORLY PLEAD BUT
POTENTIALLY MERITORIOUS CAUSES OF ACTION.

Movant makes a good point via paragraphs 11 through 20, that being: the FAC is very poorly
plead, it is missing required facts, it is by and large not plead with the particularity required, it is
difficult to determine exactly the merits or demerits of the causes of action, and at times
remedies are plead as causes of action. At the outset, it is reasonable for the court to allow for
the Plaintiff's attorney to review the causes of action and concisely restate the facts and set forth

the causes of action based on those facts.
Xx. CONCLUSION

For the reasons set forth hereinabove, this Court should deny the movant’s motion to

dismiss and should grant the Plaintiff leave to file a second amendesComplaint.

Dated: October 30, 2017

 

 

Richard W. Snyder, Esq.
Attorney for the Plaintiff
Billie Rene’ Frances Lillian Powers

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DECLARATION OF BILLIE RENE’ FRANCES LILLIAN POWERS
1. I, Billie Rene’ Frances Lillian Powers, am the Plaintiff herein. I have personal
knowledge of all facts set forth herein and if called as a witness to testify thereto I could and
would do so,
a On or about April 13, 2007, I executed a Residential Purchase Agreement and Joint
Escrow Instructions respecting my intended purchase of the Property. I have resided thereat,
along with my minor daughter, at all times subsequent to the purchase through the filing of the
FAC in this matter. At this time, I have been evicted from the property and am relying on the
generosity of friends in order to shelter myself and my daughter.
3, West Coast Escrow handled the escrow.
4. In the process of the purchase, on or about April 17, 2007, I received a document titled
“Additional Escrow Instructions” from West Coast Escrow. The instructions indicated that title
was to be vested in myself solely. Attached hereto and identified as Exhibit “1” is a true and
correct unsigned copy of the Additional Escrow Instructions dated April 17, 2007.
Bs On April 26, 2007, the Seller executed the True Grant Deed naming myself as the sole
grantee. Thereafter, it was delivered to West Coast Escrow.
6. On May 15, 2007, an Addendum to the Residential Purchase Agreement was prepared
indicating myself as the sole buyer. Attached hereto and identified as Exhibit “2” is a true and
correct copy of the Addendum to the Residential Purchase Agreement dated May 15, 2007.
7. On May 29, 2007, I received 2 documents from West Coast Escrow both of which were
titled “Escrow Modification”. Each of said documents identified myself as the only buyer.
Attached hereto and identified as Exhibit “3” is a true and correct copy of the “Escrow
Modification” documents dated May 29, 2007.
8. Sometime between June 1, 2007 and June 15, 2007, I was advised by Lender that I no
longer qualified for the prospective loans an that I need to have a co-signor. At that time, OVER
A MONTH AFTER the True Trust Deed was executed and notarized, my sister and brother-in-

law Louise J. Hanson and Jacqueline M. Hanson agreed to co-sign. Attached hereto and

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identified as Exhibit “4” is a true and correct copy of the Addendum to the Residential Purchase
Agreement dated June 5, 2007.

9. At closing, on July 2, 2007, the Fraud Grant Deed was recorded which is a materially
altered version of the True Grant Deed. The Fraud Grant Deed was altered to remove the
Plaintiff's name and then insert, with what appears to be a typewriter, the names “Billie Rene
Powers”, “Louise J. Hanson”, and “Jacqueline M. Hanson”. Attached hereto and identified as
Exhibit “5” is a true and correct copy of the Fraud Grant Deed dated April 26, 2007.

10. Prior to August of 2014, I attempted to contact Nancy F. Ganzon, the notary who
notarized the True Grant Deed and whose signature and notary stamp appear on the Fraud Grant
Deed. At that time she was a stranger to me. When I was unable to find her, I placed a claim
against her notary bond. Attached hereto and identified as Exhibit “6” is a true and correct copy
of the Complaint Form dated February 25, 2014.

11. Sometime in August of 2014, I was contacted by the notary Nancy F. Ganzon. On or
about August 27, 2014, Nancy F. Ganzon executed an affidavit wherein she testified that the
Fraud Grant Deed, bearing her signature and notary stamp, is not the document that she
notarized, but instead is an altered version of the one she notarized. Attached hereto and
identified as Exhibit “7” is a true and correct copy of the Affidavit of Nancy F. Ganzon dated
February 25, 2014.

12. On June 27, 2007, I executed the 1 DOT on my own behalf and on behalf of Louis J.
Hanson and Jacqueline M. Hanson via 2 powers of attorney. The Fraud Grant Deed and the 1“
DOT were recorded sequentially on July 2, 2007 as document numbers 2007000417170 and
2007000417171. Attached hereto and identified as Exhibit “8” is a true and correct copy of the
1" DOT.

13. On October 26, 2010, the Assignment of DOT was recorded purporting to assign the 1"
DOT to BONY as Trustee. The Assignment of DOT was purportedly signed by Nichole
Clavadetscher in her capacity as a Certifying Officer of Mers. The Assignment of DOT was

purported to have been notarized by Secrist, whose notary commission number is 1893949,

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Attached hereto and identified as Exhibit “9” is a true and correct copy of the Assignment of
DOT.

14. On or about November 16, 2012, | initiated a claim with Bond Co, who provided a notary
bond for Secrist. Through my claim, I alleged that the signature for Nichole Clavadetscher on
the Assignment of DOT was not genuine and therefore, Secrist’s representation on the notary
acknowledgement, made under penalty of perjury, that Nichole Clavadetscher personally
appeared before him, was false. Attached hereto and identified as Exhibit “10” is a true and
correct copy of a November 29, 2012 letter I received from Bond Co in response to my claim. In
the letter Bond Co asked me for more information to substantiate my claim. Therein, Bond Co
stated that it only paid actual damages (see Ex. “10”, pg 1, {| 3) and that policy limit was
$15,000.00 (see Ex. “10”, pg 3).

LS. On or about December 6, 2012, I submitted a written “Proof of Claim” to Bond Co
respecting my claim. Attached hereto and identified as Exhibit “11” is a true and correct copy of|
my December 6, 2012 “Proof of Claim”.

16. | Onor about February 27, 2013 (after nearly 3 month time to investigate its liability)
Bond Co paid me the full policy limit of $15,000.00 in settlement of my claim. Attached hereto
and identified as Exhibit “12” is a true and correct copy of the $15,000.00 check I received from
Bond Co in settlement of my bond claim.

igs On February 28, 2014, a Substitution of Trustee, purporting to substitute Quality Loan
Service Corporation (“Quality”) as a successor trustee to the DOT Trustee was recorded.
Attached hereto and identified as Exhibit “13” is a true and correct copy of the Substitution of
Trustee.

18. On September 25, 2014, a Notice of Default, claiming to be a notice of default on the 1"
DOT was recorded. Attached hereto and identified as Exhibit “14” is a true and correct copy of
the Notice of Default.

19. On September 30, 2015, a Notice of Trustee’s Sale was recorded. Attached hereto and

identified as Exhibit “15” is a true and correct copy of the Notice of Trustee’s Sale.

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20. On August 8, 2016, a Trustee’s Sale was conducted by Quality and on August 16, 2016,
Quality recorded a Trustee’s Deed Upon Sale. Attached hereto and identified as Exhibit “16” is
a true and correct copy of the Trustee’s Deed Upon Sale.
21. | Onor about May 5, 2010, I received a letter from BAC advising me that the balance was
accelerated and the entire balance of $1,366,003.88 was then due. Attached hereto and identified
as Exhibit “17” is a true and correct copy of the said letter.
2, On or about May 6, 2010, the DOT Trustee recorded a Notice of Default advising the
Plaintiff that BAC had elected to sell the Property under the 1** DOT. Attached hereto and
identified as Exhibit “18” is a true and correct copy of the said Notice of Default.

I declare under penalty of perjury under the laws of the State of California and the United

States that the foregoing is true and correct. Executed at Tustin, California on October 24, 2017.
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TRO & PRELIM INJUNCTION - 21

 
